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IN THE UNITED sTATEs DISTRICT coURT
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FoR THE wEsTERN DISTRICT oF TENNESSEE 05§§{23 PH
wEsTERN DIvIsION

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OSLO COLE.
Plaintiff.

vs. Civ. No. 04-2755-B[P

YOUTH VILLAGES, INC.,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
May 19, 2005. Present were Emma Cole, counsel for plaintiff, and
Kelly Gooch, counsel for defendant. At the conference, the
following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
June 15, 2005

JOINING PARTIES:

Plaintiff - June 10, 2005

Defendant - July 10, 2005

AMENDING PLEADINGS:

Plaintiff - June 10, 2005

Defendant - July 10, 2005

INITIAL MOTIONS TO DISMISS: September 12, 2005
COMPLETING ALL DISCOVERY: December l, 2005

(a) DOCUMENT PRODUCTION: December l, 2005

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: DeCember l, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 25 EXPERT
INFORMATION: OCtOber 3, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: NOVember 3, 2005

(3) EXPERT WITNESS DEPOSITIONS: DeCember l, 2005
FILING DISPOSITIVE MOTIONS: January 10, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection_ to the default, response,
answer, or objection shall be waived.

This case is set for a nonjury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge. lt is anticipated. that the trial will last

approximately three (3) days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
before close of discovery.

The parties may consent to trial before the Magistrate Judge.
The Magistrate Judge can normally' provide the parties with a
definite trial date that will not be continued unless a continuance
is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding the trial.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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TU"M. PHAM
United States Magistrate Judge
S/.;Lz/s)

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02755 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

